Case 1:19-cv-20502-JEM Document 12-4 Entered on FLSD Docket 11/13/2018 Page 1 of 6




                  Exhibit B
                              Case 1:19-cv-20502-JEM Document 12-4 Entered on FLSD Docket 11/13/2018 Page 2 of 6

                                                                                                            Loss Chart
                                                                                       Losses of Richard Cardilli in OPKO Health, Inc. (OPK)
Client Name               Richard Cardilli
Company Name             OPKO Health, Inc.                  90 Day Lookback Average                 $3.74                                      LIFO Loss              $     (103,250.00)
Ticker Symbol                  OPK
Class Period Start           9/26/2013
Class Period End             9/7/2018
                                                                   Account 1
                       Quantity of Securities   Price Per                                                     Number of          Price Per     Total Proceeds from    Securities Held at   Per Security                          Total
    Acquisition Date       Purchased            Security           Total Cost         Disposition Date      Securities Sold      Security              Sale            Time of Filing         Value       Retained Value     Proceeds/Loss
      08-27-2015               1,000             $ 10.99           $10,990.00            03-08-2018             1,000             $ 03.26           $3,260.00                                                              $       (7,730.00)
      11-09-2015               1,000             $ 10.01           $10,010.00            03-08-2018             1,000             $ 03.26           $3,260.00                                                              $       (6,750.00)
      04-20-2017                586              $ 07.57           $4,436.02             03-08-2018              586              $ 03.26           $1,910.36                                                              $       (2,525.66)
      04-25-2017               2,000             $ 07.84           $15,680.00            03-08-2018             2,000             $ 03.26           $6,520.00                                                              $       (9,160.00)
      05-08-2017               1,000             $ 07.23           $7,230.00             03-08-2018             1000              $ 03.26           $3,260.00                                                              $       (3,970.00)

                              5,586                                $48,346.02                                   5,586                               $18,210.36                                                             $     (30,135.66)
       TOTALS            Shares Purchased                             Cost                                    Shares Sold                       Proceeds from Sales   Retained Shares                     Retained Value         Loss


                                                                   Account 2
                       Quantity of Securities   Price Per                                                     Number of          Price Per     Total Proceeds from    Securities Held at   Per Security                          Total
    Acquisition Date       Purchased            Security           Total Cost         Disposition Date      Securities Sold      Security              Sale            Time of Filing         Value       Retained Value     Proceeds/Loss
      05-26-2015               2000              $ 17.72           $35,440.00            03-08-2018             2000              $ 03.26           $6,520.00                                                              $      (28,920.00)
      06-29-2015               1000              $ 15.52           $15,520.00            03-08-2018             1000              $ 03.26           $3,260.00                                                              $      (12,260.00)
      07-21-2015               2000              $ 16.02           $32,040.00            03-08-2018             2000              $ 03.26           $6,520.00                                                              $      (25,520.00)
      01-27-2016               1000              $ 07.89           $7,890.00             03-08-2018             1000              $ 03.26           $3,260.00                                                              $       (4,630.00)
      04-20-2017                414              $ 07.57           $3,133.98             03-08-2018              414              $ 03.26           $1,349.64                                                              $       (1,784.34)
      03-02-2018               6000              $ 02.78           $16,680.00            03-08-2018             6000              $ 03.26          $19,560.00

                              12,414                               $110,703.98                                  12,414                              $40,469.64                                                             $     (73,114.34)
       TOTALS            Shares Purchased                             Cost                                    Shares Sold                       Proceeds from Sales   Retained Shares                     Retained Value         Loss
                               Case 1:19-cv-20502-JEM Document 12-4 Entered on FLSD Docket 11/13/2018 Page 3 of 6

                                                                                                                  Loss Chart
                                                                                            Losses of Anthony T. DeRosa in OPKO Health, Inc. (OPK)

Client Name            Anthony T. DeRosa
Company Name           OPKO Health, Inc.                    90 Day Lookback Average      $3.74                        LIFO Damages             $             (194,324.11)
Ticker Symbol          OPK
Class Period Start     9/26/2013
Class Period End       9/7/2018


                       Quantity of Securities   Price Per                             Disposition     Number of                                                              Securities Held at     Per Security
    Acquisition Date                                               Total Cost                                            Price Per Security    Total Proceeds from Sale                                            Retained Value   Total Proceeds/Loss
                           Purchased            Security                                 Date       Securities Sold                                                         Close of Class Period      Value
        8/2/2016               2,000             $9.92             $19,840.00         9/21/2016         2,000                 $10.40                   20,800.00                                                                    $           960.00
        9/28/2016               600              $10.93            $6,558.00                                                                                                         600               $3.74         $2,244.77      $        (4,313.23)
        9/28/2016              2,200             $10.93            $24,046.00                                                                                                       2,200              $3.74         $8,230.81      $       (15,815.19)
        9/28/2016               200              $10.93            $2,186.00                                                                                                         200               $3.74          $748.26       $        (1,437.74)
        10/7/2016              2,000             $9.85             $19,700.00                                                                                                       2,000              $3.74         $7,482.55      $       (12,217.45)
        10/7/2016              2,000             $9.81             $19,620.00                                                                                                       2,000              $3.74         $7,482.55      $       (12,137.45)
       10/12/2016              1,000             $9.51             $9,510.00                                                                                                        1,000              $3.74         $3,741.28      $        (5,768.72)
       10/21/2016              1,000             $9.39             $9,390.00                                                                                                        1,000              $3.74         $3,741.28      $        (5,648.72)
        11/4/2016              1,000             $9.66             $9,660.00                                                                                                        1,000              $3.74         $3,741.28      $        (5,918.72)
        11/8/2016              2,000             $9.33             $18,660.00                                                                                                       2,000              $3.74         $7,482.55      $       (11,177.45)
        11/8/2016              1,000             $9.02             $9,020.00                                                                                                        1,000              $3.74         $3,741.28      $        (5,278.72)
       11/21/2016              1,000             $10.42            $10,420.00                                                                                                       1,000              $3.74         $3,741.28      $        (6,678.72)
       11/22/2016              1,000             $10.25            $10,250.00                                                                                                       1,000              $3.74         $3,741.28      $        (6,508.72)
        1/5/2017               3,000             $9.09             $27,270.00                                                                                                       3,000              $3.74         $11,223.83     $       (16,046.17)
        1/5/2017               2,000             $9.09             $18,180.00                                                                                                       2,000              $3.74         $7,482.55      $       (10,697.45)
        1/17/2017              2,000             $9.12             $18,240.00                                                                                                       2,000              $3.74         $7,482.55      $       (10,757.45)
        1/18/2017              2,000             $8.90             $17,800.00                                                                                                       2,000              $3.74         $7,482.55      $       (10,317.45)
        1/18/2017              1,000             $8.96             $8,960.00                                                                                                        1,000              $3.74         $3,741.28      $        (5,218.72)
        2/8/2017               1,200             $8.13             $9,756.00                                                                                                        1,200              $3.74         $4,489.53      $        (5,266.47)
        2/8/2017               1,800             $8.13             $14,634.00                                                                                                       1,800              $3.74         $6,734.30      $        (7,899.70)
        2/23/2017              1,000             $8.39             $8,390.00                                                                                                        1,000              $3.74         $3,741.28      $        (4,648.72)
        2/28/2017              1,000             $8.50             $8,500.00                                                                                                        1,000              $3.74         $3,741.28      $        (4,758.72)
        3/2/2017               2,000             $7.73             $15,460.00                                                                                                       2,000              $3.74         $7,482.55      $        (7,977.45)
        3/3/2017               1,000             $7.53             $7,530.00                                                                                                        1,000              $3.74         $3,741.28      $        (3,788.72)
        5/15/2017              2,000             $6.94             $13,880.00                                                                                                       2,000              $3.74         $7,482.55      $        (6,397.45)
        7/14/2017              2,000             $6.19             $12,380.00                                                                                                       2,000              $3.74         $7,482.55      $        (4,897.45)
        8/3/2017               3,000             $6.15             $18,450.00                                                                                                       3,000              $3.74         $11,223.83     $        (7,226.17)
       11/16/2017              2,000             $4.69             $9,380.00                                                                                                        2,000              $3.74         $7,482.55      $        (1,897.45)
        1/31/2018               546              $4.48             $2,446.08                                                                                                         546               $3.74         $2,042.74      $          (403.34)
        1/31/2018               454              $4.48             $2,033.92                                                                                                         454               $3.74         $1,698.54      $          (335.38)
        2/2/2018               2,000             $4.31             $8,620.00           7/18/2018         2,000                 $6.26                   $12,520.00                                                                   $         3,900.00
        2/12/2018               900              $4.01             $3,609.00           7/18/2018          900                  $6.26                   $5,634.00                                                                    $         2,025.00
        2/12/2018               100              $4.01              $401.00            7/18/2018          100                  $6.27                    $627.00                                                                     $           226.00


       TOTALS            Shares Purchased                            Cost                            Shares Sold                                   Proceeds from Sales        Retained Shares                      Retained Value          Loss
                              48,000                              $394,780.00                           5,000                                          $39,581.00                 43,000                            $160,874.89     $      (194,324.11)
                              Case 1:19-cv-20502-JEM Document 12-4 Entered on FLSD Docket 11/13/2018 Page 4 of 6

                                                                                                           Loss Chart
                                                                                          Losses of Tawei Ho in OPKO Health, Inc. (OPK)
Client Name                 Tawei Ho
Company Name             OPKO Health, Inc.                  90 Day Lookback Average                  $3.74                                  LIFO Loss              $     (155,177.67)
Ticker Symbol                 OPK
Class Period Start          9/26/2013
Class Period End            9/7/2018

                       Quantity of Securities   Price Per                                                      Number of        Price Per   Total Proceeds from    Securities Held at   Per Security                          Total
    Acquisition Date       Purchased            Security           Total Cost         Disposition Date       Securities Sold    Security            Sale            Time of Filing         Value       Retained Value     Proceeds/Loss
      03-30-2016                600              $ 10.21            $6,123.00            06-01-2016               600            $10.52          $6,312.00                                                              $          189.00
      03-30-2016               3,598             $ 10.21           $36,735.22            06-01-2017              3,598           $10.52         $37,850.96                                                              $        1,115.74
      03-30-2016                802              $ 10.20            $8,180.48            06-01-2018               802            $10.52          $8,437.04                                                              $          256.56
      05-02-2016                500              $ 10.20            $5,097.50            06-01-2019               500            $10.52          $5,260.00                                                              $          162.50
      05-02-2016               4,500             $ 10.20           $45,889.20            06-01-2020              4,500           $10.52         $47,340.00                                                              $        1,450.80
      06-14-2016               4,700             $ 09.04           $42,488.00            07-13-2016              4,700            $9.67         $45,449.00                                                              $        2,961.00
      06-14-2016               5,300             $ 09.04           $47,912.00            07-13-2016              5,300            $9.68         $51,304.00                                                              $        3,392.00
      11-15-2016              11,774             $ 10.22           $120,330.28                                                                                          11,774             $3.74         $44,049.79     $      (76,280.49)
      11-15-2016               1,694             $ 10.22           $17,312.68           9/14/2018                1,694            $4.44          $7,528.14                                                              $       (9,784.54)
      11-15-2016               1,532             $ 10.22           $15,657.04           9/14/2018                1,532            $4.44          $6,808.21                                                              $       (8,848.83)
      12-30-2016               8,105             $ 09.15           $74,160.75           9/14/2018                8,105            $4.44         $36,018.62                                                              $      (38,142.13)
      12-30-2016               6,800             $ 09.15           $62,220.00           9/14/2018                6,800            $4.44         $30,219.20                                                              $      (32,000.80)
      12-30-2016                 95              $ 09.15             $869.25            9/14/2018                  95             $4.44           $422.18                                                               $         (447.07)
      12-30-2016              15,000             $ 09.15           $137,250.00          12-30-2016               15,000           $9.20         $138,000.00                                                             $          750.00
      02-06-2017                700              $ 08.25            $5,775.00           03-28-2017                700             $8.27          $5,789.00                                                              $           14.00
      02-06-2017                200              $ 08.26            $1,652.00           03-28-2017                200             $8.26          $1,651.00                                                              $           (1.00)
      02-06-2017               4,200             $ 08.26           $34,692.00           03-28-2017               4,200            $8.26         $34,683.60                                                              $           (8.40)
      02-06-2017                600              $ 08.26            $4,956.00           03-28-2017                600             $8.25          $4,950.00                                                              $           (6.00)
      02-06-2017                700              $ 08.26            $5,782.00           03-28-2017                700             $8.28          $5,796.00                                                              $           14.00
      02-06-2017               3,600             $ 08.26           $29,736.00           03-28-2017               3,600            $8.27         $29,772.00                                                              $           36.00


                              75,000                               $702,818.40                                  63,226                           $44,049.79            11,774                            $44,049.79     $     (155,177.67)
       TOTALS            Shares Purchased                             Cost                                    Shares Sold                    Proceeds from Sales   Retained Shares                     Retained Value          Loss
                              Case 1:19-cv-20502-JEM Document 12-4 Entered on FLSD Docket 11/13/2018 Page 5 of 6

                                                                                                            Loss Chart
                                                                                       Losses of Charles Saulson in OPKO Health, Inc. (OPK)
Client Name               Charles Saulson
Company Name             OPKO Health, Inc.                  90 Day Lookback Average                 $3.74                                     LIFO Loss              $     (146,195.32)
Ticker Symbol                  OPK
Class Period Start           9/26/2013
Class Period End             9/7/2018

                       Quantity of Securities   Price Per                                                     Number of          Price Per    Total Proceeds from    Securities Held at   Per Security                          Total
    Acquisition Date       Purchased            Security           Total Cost         Disposition Date      Securities Sold      Security             Sale            Time of Filing         Value       Retained Value     Proceeds/Loss
      06-04-2015               5,000             $ 18.15           $90,750.00                                                                                              5,000             $3.74         $18,706.38     $      (72,043.62)
      06-09-2015               5,000             $ 16.09           $80,442.80                                                                                              5,000             $3.74         $18,706.38     $      (61,736.42)
      10-19-2015               2,000             $ 09.95           $19,897.84                                                                                              2,000             $3.74          $7,482.55     $      (12,415.29)

                              12,000                               $191,090.64                                                                                           12,000                              44,895       $    (146,195.32)
       TOTALS            Shares Purchased                             Cost                                    Shares Sold                      Proceeds from Sales   Retained Shares                     Retained Value         Loss
                                   Case 1:19-cv-20502-JEM Document 12-4 Entered on FLSD Docket 11/13/2018 Page 6 of 6

                                                                                                                        Loss Chart
                                                                                                     Losses of Connie Wendt in OPKO Health, Inc. (OPK)

Client Name               Connie Wendt
Company Name              OPKO Health, Inc.                     90 Day Lookback Average      $3.74                         LIFO Damages              $             (110,091.84)
Ticker Symbol             OPK
Class Period Start        9/26/2013
Class Period End          9/7/2018
                                                                       Account 1
                           Quantity of Securities Price Per                               Disposition      Number of                                                              Securities Held at   Per Security
    Acquisition Date                                                   Total Cost                                             Price Per Security     Total Proceeds from Sale                                         Retained Value   Total Proceeds/Loss
                               Purchased          Security                                   Date        Securities Sold                                                           Time of Filing         Value
       8/28/2015                  2,000            $11.43              $22,860.00          8/25/2016         2,000                 $9.11                     $18,220.00                                                                $        (4,640.00)
                     PRE-CLASS PERIOED PURCHASES                                           8/25/2016         2,000                 $9.11                          MATCHED TO PRE-CLASS PERIOD PURCHASES
        11/9/2016                 2,000             $9.48              $18,960.00          12/9/2016         2,000                 $11.03                    $22,060.00                                                                $         3,100.00
       12/16/2016                 4,000            $11.87              $47,480.00                                                                                                 4,000          $3.74                  $14,965.11     $       (32,514.89)
       12/23/2016                 2,000            $11.58              $23,160.00         12/23/2016          2,000                $11.73                    $23,460.00                                                                $           300.00
        1/3/2017                   1600             $9.20              $14,720.00                                                                                                 1,600          $3.74                  $5,986.04      $        (8,733.96)
        1/3/2017                    710             $9.22              $6,546.20                                                                                                   710           $3.74                  $2,656.31      $        (3,889.89)
        1/3/2017                  1,000             $9.18              $9,180.00                                                                                                  1,000          $3.74                  $3,741.28      $        (5,438.72)
        1/3/2017                  2,000             $9.18              $18,360.00          9/19/2017          2,000                 $6.02                    $12,040.00                                                                $        (6,320.00)


       TOTALS                Shares Purchased                            Cost                              Shares Sold                                   Proceeds from Sales      Retained Shares                     Retained Value       LIFO Loss
                                  15,310                              $161,266.20                            10,000                                          $75,780.00                7,310                            $27,348.73     $      (58,137.47)

                                                                       Account 2
                           Quantity of Securities   Price Per                             Disposition      Number of                                                              Securities Held at   Per Security
    Acquisition Date                                                   Total Cost                                             Price Per Security     Total Proceeds from Sale                                         Retained Value   Total Proceeds/Loss
                               Purchased            Security                                 Date        Securities Sold                                                           Time of Filing         Value
        11/9/2016                 2,000               $9.48            $18,960.00          12/9/2016         2,000                 $11.03                    $22,060.00                                                                $         3,100.00
       12/16/2016                 4,000              $11.87            $47,480.00                                                                                                       4,000             $3.74         $14,965.11     $       (32,514.89)

       TOTALS                Shares Purchased                             Cost                             Shares Sold                                   Proceeds from Sales      Retained Shares                     Retained Value       LIFO Loss
                                  6,000                                $66,440.00                            2,000                                           $22,060.00                4,000                            $14,965.11     $      (29,414.89)


                                                                       Account 3
                           Quantity of Securities   Price Per                             Disposition      Number of                                                              Securities Held at   Per Security
    Acquisition Date                                                   Total Cost                                             Price Per Security     Total Proceeds from Sale                                         Retained Value   Total Proceeds/Loss
                               Purchased            Security                                 Date        Securities Sold                                                           Time of Filing         Value
       12/23/2016                 2,000              $11.58            $23,160.00         12/23/2016         2,000                 $11.73                    $23,460.00                                                                $           300.00
        1/3/2017                  1,000               $9.18            $9,180.00                                                                                                        1,000             $3.74         $3,741.28      $        (5,438.72)
        1/3/2017                  2,000               $9.18            $18,360.00          9/19/2017          2000                  $6.02                    $12,040.00                                                                $        (6,320.00)

       TOTALS                Shares Purchased                             Cost                             Shares Sold                                   Proceeds from Sales      Retained Shares                     Retained Value       LIFO Loss
                                  5,000                                $50,700.00                            4,000                                           $35,500.00                1,000                            $3,741.28      $      (11,458.72)

                                                                       Account 4
                           Quantity of Securities   Price Per                             Disposition      Number of                                                              Securities Held at   Per Security                          Total
    Acquisition Date                                                   Total Cost                                             Price Per Security     Total Proceeds from Sale                                         Retained Value
                               Purchased            Security                                 Date        Securities Sold                                                           Time of Filing         Value                          Proceeds/Loss
        1/3/2017                  1,600               $9.24            $14,784.00                                                                                                       1,600             $3.74         $5,986.04      $       (7,197.96)

       TOTALS                Shares Purchased                             Cost                             Shares Sold                                   Proceeds from Sales      Retained Shares                     Retained Value       LIFO Loss
                                  1,600                                $14,784.00                                                                                                      1,600                            $5,986.04      $       (7,197.96)

                                                                       Account 5
                           Quantity of Securities   Price Per                             Disposition      Number of                                                              Securities Held at   Per Security                          Total
    Acquisition Date                                                   Total Cost                                             Price Per Security     Total Proceeds from Sale                                         Retained Value
                               Purchased            Security                                 Date        Securities Sold                                                           Time of Filing         Value                          Proceeds/Loss
        1/3/2017                   710                $9.21            $6,539.10                                                                                                         710              $3.74         $2,656.31      $       (3,882.79)


       TOTALS                Shares Purchased                            Cost                              Shares Sold                                   Proceeds from Sales      Retained Shares                     Retained Value       LIFO Loss
                                    710                                $6,539.10                                                                                                        710                             $2,656.31      $       (3,882.79)
